                      Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 1 of 12
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District District
                                                     __________   of New ofMexico
                                                                            __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. MR 24-671
2014 White Nissan Titan, NM License Plate 076WZY                             )
            VIN 1N6AA0CC8EN520039                                            )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
Attachment A

located in the                                    District of               New Mexico                 , there is now concealed (identify the
person or describe the property to be seized):
Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               ’
               ✔ contraband, fruits of crime, or other items illegally possessed;
               ’
                 ’ property designed for use, intended for use, or used in committing a crime;
                 ’ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 1153                          Crimes committed in Indian Country
        18 U.S.C. § 1112                          Involuntary manslaughter.


          The application is based on these facts:
        See attached affidavit, incorporated herein by reference.


           ✔ Continued on the attached sheet.
           ’
           ’ Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                     Applicant’s signature

                                                                                                Lorraine Hardy, Special Agent
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 Electronically submitted and telephonically sworn (specify reliable electronic means).

Date:        04/10/2024
                                                                                                       Judge’s signature

City and state: Farmington, New Mexico                                               B. Paul Briones, United States Magistrate Judge
                                                                                                     Printed name and title
         Print                        Save As...                         Attach                                                      Reset
            Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 2 of 12




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 IN THE MATTER OF THE SEARCH OF:
 2014 WHITE NISSAN TITAN
 BEARING VIN NUMBER
 1N6AA0CC8EN520039 & NEW MEXICO
                                                    Case No. ____________________
 LICENSE PLATE 076WZY CURRENTLY
 LOCATED AT NEW MEXICO STATE
 POLICE IMPOUND AT 1025 W NAVAJO
 ST., FARMINGTON, NEW MEXICO


                             AFFIDAVIT IN SUPPORT OF AN
                           APPLICATION UNDER RULE 41 FOR A
                            WARRANT TO SEARCH AND SEIZE


       I, Lorraine Hardy, being first duly sworn, hereby depose and state as follows:


                      INTRODUCTION AND AGENT BACKGROUND


       1.       I make this affidavit in support of an application of Rule 41 of the Federal Rules of

Criminal Procedure for a warrant authorizing the search for and seizure of electronically stored

information from an Event Data Recorder (EDR), items related to alcohol consumption, illegal

substances, drug paraphernalia, bottles, receipts of purchase, cans, and other items known to hold

drugs or alcoholic beverages, child restraint devices(s), and photographs of the interior and exterior

of the TARGET VEHICLE, as particularly described in Attachment B, within the white 2014

Nissan Titan truck, bearing VIN number 1N6AA0CC8EN520039 and New Mexico License Plate

076WZY , currently located at New Mexico State Police (NMSP) impound at 1025 w Navajo St.,

Farmington, New Mexico (the “TARGET VEHICLE”), a description of which is contained in

Attachment A.

       2.       I am currently serving as an FBI Special Agent assigned to the FBI, Albuquerque

Division, Farmington Resident Agency, where I primarily investigate crimes that occur in Indian
            Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 3 of 12




Country to include homicide, aggravated assault, child sexual assault, kidnapping and rape. I have

been with the FBI for approximately 5 years. I have received on-the-job training from other

experienced agents, detectives, Indian Country criminal investigators, and tribal police officers.

My investigative training and experience includes, but is not limited to, processing crime scenes,

conducting surveillance, interviewing subjects, targets, and witnesses, writing affidavits for and

executing search and arrest warrants, examining cellular telephones, managing confidential human

sources and cooperating witnesses/defendants, serving subpoenas, collecting and reviewing

evidence, and analyzing public records. I have also responded to an investigated numerous

vehicular homicide scenes where I have processed evidence relating to such crashes – collecting

evidence from vehicles, from crash scenes, from electronic devices, and through interviews of

victims, witnesses, and subjects, as well as working closely with crash reconstruction teams and

their expert investigators.

       3.       This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all my knowledge about this matter.


                                       PROBABLE CAUSE


       4.       My basis for believing that evidence is located within the TARGET VEHICLE,

including items related to drug or alcohol consumption, including illegal substances, drug

paraphernalia, bottles, receipts of purchase, cans, other items known to hold drugs or alcoholic

beverages, the presence of car seats and EDR systems technology, is as follows:


             a. On or about April 3, 2024, the Farmington Resident Agency of the FBI was notified

                of a three-car vehicle collision at approximately 5:00 p.m. at mile marker 3 on NR

                36 in Shiprock, New Mexico, GPS coordinates 36.716405, -108.645401, which
                                                  2
Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 4 of 12




    resulted in the death of a seventeen-month-old infant, and injuring a three month

    old infant.


 b. A witness (hereinafter referred to as L.B.), year of birth 1985, was traveling east on

    NR 36. As L.B. topped an incline he heard and observed a multi-vehicle crash in

    the road in front of him. L.B. stopped his vehicle and called 911. L.B. approached

    a blue Nissan (hereinafter referred to as the “second vehicle”) passenger car to help

    render aid and saw a male sitting in the driver’s seat. The man, later identified by

    law enforcement as T.J., year of birth 1976, stated he was ok so L.B. proceeded

    toward a white Nissan truck, the TARGET VEHICLE, where he heard a baby

    crying. The TARGET VEHICLE was upside down in the road and debris covered

    the roadway. As L.B. walked from the second vehicle to the TARGET VEHICLE

    he smelled the distinct odor of alcohol and noticed a white claw alcohol can nearby

    in the debris. L.B. observed a young female, later identified by law enforcement as

    Tris Begay (hereinafter referred to as BEGAY), laying on the ground outside the

    passenger side back window of the TARGET VEHICLE. BEGAY was conscious

    so L.B. proceeded to a toddler (herein after referred to as JANE DOE) lying face

    down behind the cab of the TARGET VEHICLE. L.B. pulled JANE DOE free

    tearing her onesie to extract her from the TARGET VEHICLE. L.B. observed a

    cut to JANE DOE’s forehead but she was breathing. L.B. could still hear another

    baby crying inside the TARGET VEHICLE so he asked a bystander for assistance

    with JANE DOE. L.B. then observed an infant (hereinafter referred to as W.B.),

    year of birth 2023, in a car seat facing up, on the roof of the TARGET VEHICLE.

    L.B. removed W.B. from the TARGET VEHICLE. L.B. looked back inside the
                                3
Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 5 of 12




    TARGET VEHICLE and observed a male, later identified by law enforcement as

    Dewayne Blackie (herein after referred to as BLACKIE), year of birth 1987, on his

    hands and knees in the driver’s area of the TARGET VEHICLE. A female, later

    identified by law enforcement as Jane Tyler (hereinafter referred to as TYLER),

    year of birth 1961, was on her hands and knees in the front passenger side of the

    TARGET VEHICLE. The fire department arrived and assisted in removing

    BLACKIE and TYLER from the TARGET VEHICLE. L.B. checked on JANE

    DOE and observed her turn blue and gasp for air. L.B. started CPR until the

    ambulance arrived. JANE DOE and W.B. were taken to Northern Navajo Medical

    Center (NNMC) in Shiprock for treatment. BLACKIE, BEGAY, and TYLER were

    also transported by ambulance to San Juan Medical Center (SJMC) in Farmington.


 c. Officers with the Navajo Nation Police Department (NNPD) arrived on scene a

    short time after and observed the TARGET VEHICLE upside down in the west

    bound lane with significant damage. The second vehicle was observed sideways in

    the east bound lane and a brown Nissan Sentra (hereinafter referred to as the “third

    vehicle”) was observed in the barrow pit on the south side of NR 36. Both vehicles

    had significant damage. The third vehicle had two occupants, a male who was later

    identified by law enforcement as the driver (hereinafter referred to as D.B.), year

    of birth 1984, and a passenger (hereinafter referred to as S. T.) year of birth 1982.


 d. After an interview with D.B. it was learned that he and his girlfriend, T.S. had

    broken down the day prior and had pulled off the side of the road on NR 36. D.B.

    had called someone to come assist him with fixing the third vehicle. D.B. stated the

                                      4
Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 6 of 12




    third vehicle had something wrong with the tire and was hard to turn as well as had

    a battery issue. D.B and T.S. waited all night and into the next day and no one

    came to help them. D.B. attempted to fix the tire himself and had the passenger side

    rear tire removed from the vehicle. At approximately 5:00 p.m. T.J. pulled up in

    the second vehicle and offered to help. D.B. asked T.J. if he could jump start the

    third vehicle. T.J. pulled in front of the third vehicle preparing to jump start it. D.B.

    could hear a vehicle coming and he looked up and saw the TARGET VEHICLE

    coming towards them heading east. D.B. believed the TARGET VEHICLE was

    accelerating due to the sound of the engine revving up. The TARGET VEHICLE

    struck the third vehicle from behind and pushed it off the road to the south. The

    TARGET VEHICLE then hit the front of the second vehicle spinning it around.

    The TARGET VEHICLE then skidded on its front end several times before flipping

    over and coming to a stop in the west bound lane. (D.B. provided the following

    sketch indicating the locations of each vehicle during the incident)




                                       5
Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 7 of 12




 e. While on scene, I observed several white claw cans and a vodka bottle in the rubble

    from the damaged vehicles. I also observed a torn onesie with what appeared to be

    blood on it near the rear of the cab of the TARGET VEHICLE where L.B. has

    previously indicated he found JANE DOE. The white claw cans, Vodka bottle and

    torn onesie were collected as evidence and both the TARGET VEHICLE, and third

    vehicle were sealed and towed to a secure area pending search warrants.


 f. Law enforcement interviewed BLACKIE at the hospital. BLACKIE stated,

    BEGAY and TYLER asked him to give them a ride into Farmington. BLACKIE

    had not consumed any alcohol prior to driving. BLACKIE does not drink alcohol

    due to a liver transplant years prior. BLACKIE admitted to smoking marijuana

    several days prior. BLACKIE was aware that BEGAY and TYLER brought bags

    of alcoholic beverages with them when getting into the TARGET VEHICLE.


 g. BLACKIE was transported to San Juan Regional Medical Center (SJRMC) after

    the incident. SJRMC medical records indicated BLACKIE was diagnosed and

    treated for chest pain. BLACKIE’s urine toxicology results were presumptive

    positive    for    Cannabinoid,       Amphetamine,    and     3,4-methylenedioxy-

    methamphetamine (MDMA) .


 h. BEGAY was also interviewed at the hospital by law enforcement and identified

    herself as JANE DOE and W.B.’s mother. BEGAY stated W.B. was in a car seat

    in the back seat and JANE DOE was riding on TYLER’s lap in the front seat of the

    TARGET VEHICLE prior to the crash.



                                      6
             Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 8 of 12




              i. Your affiant did not see any illegal substances, drug paraphernalia, other items

                 known to hold drugs or a car seat on the scene of the accident. It is my belief that

                 illegal substances, drug paraphernalia, other items known to hold drugs, or a car

                 seat may still be in the TARGET VEHICLE.


        5.       Based on my training and experience, most vehicles manufactured after 2012 are

equipped with an Event Data Recorder (EDR). According to NMSP Crash Reconstruction experts

who investigated the scene, the TARGET VEHICLE is likely equipped with an EDR.

        6.       Based on information provided within this affidavit, your affiant believes that

evidence of a crime can be found by conducting a search for physical items related to drug or

alcohol consumption, including illegal substances, drug paraphernalia, bottles, receipts of

purchase, cans, other items known to hold drugs or alcoholic beverages, the presence of car seats,

and EDR system technology within the TARGET VEHICLE. Photographs of both the interior and

exterior of the vehicle will also assist in the investigation.

        7.       The reported incident took place on NR 36 at mile marker 3, Shiprock, New

Mexico, GPS coordinates 36.716405, -108.645401, which is within the exterior boundaries of the

Navajo Nation, Shiprock, New Mexico. BLACKIE, BEGAY, TYLER, and D.B, are enrolled

members of the Navajo Nation.


        8.       Currently, the TARGET VEHICLE is located at New Mexico State Police secure

impound yard at 1025 W. Navajo St. Farmington, New Mexico.


                       BACKGROUND ON EVENT DATA RECORDERS (EDRs)




                                                   7
            Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 9 of 12




       9.       Based on my training and knowledge obtained from New Mexico State Police

(NMSP) crash reconstruction agents, the National Highway Traffic Safety Administration

(NHTSA), and other law enforcement agents and officers, I have learned the following:

             a. An Event Data Recorder (herein after referred to as an “EDR”), is a device installed

                in a motor vehicle to record technical vehicle and occupant information for a brief

                period of time before, during, and after a crash.

             b. EDRs may record (1) pre-crash vehicle dynamics and system status; (2) driver

                inputs; (3) vehicle crash signature; (4) restraint usage/deployment status; and (5)

                post-crash data such as the activation of an automatic collision notification (ACN)

                system.

             c. EDRs record information related to an “event,” such as a vehicle crash.

             d. The NMSP has equipment to access the EDRs located in vehicles and download

                the data therein.

             e. As previously noted, the TARGET VEHCLE is a 2014 Nissan Titan and believed

                to be equipped with an EDR.

             f. The requested warrant authorizes a later review of the EDR information described

                herein from the TARGET VEHICLE, which review may continue past the date

                required for execution of the warrant.

                                          CONCLUSION


       10.      Based on the facts set forth in this affidavit, there is probable cause to believe there

was a violation of 18 U.S.C. § 1153, crimes committed in Indian Country, and of 18 U.S.C. § 1112

involuntary manslaughter. Because there is probable cause to believe BLACKIE may have

committed a crime, and that evidence of such crimes may be found at the TARGET VEHICLE.
                                              8
           Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 10 of 12




Therefore, I submit that this affidavit supports probable cause for a warrant to search the TARGET

VEHICLE described in Attachment A and seize the items described in Attachment B.

          11.   Assistant United States Attorney Mia Rubin has approved this application.

          12.   I swear that this information is true and correct to the best of my knowledge and

belief.




                                                    ________________________
                                                    Lorraine Hardy, Special Agent
                                                    Federal Bureau of Investigation


Electronically SUBSCRIBED and telephonically SWORN to
         10th day of _______________,
me this _____         April           2024.


____________________________
HONORABLE B. PAUL BRIONES
United States Magistrate Judge




                                                9
        Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 11 of 12




                                      ATTACHMENT A


       The property to be searched is the 2014 white Nissan Titan, bearing VIN number

1N6AA0CC8EN520039 and New Mexico license plate number 076WZY located at New

Mexico State Police impound yard at 1025 W. Navajo St. Farmington, New Mexico, identified

as the TARGET VEHICLE


       This warrant authorizes, inter alia, the forensic examination of the Vehicle’s

infotainment and telematics systems for the purpose of identifying the electronically stored

information described as well as physical items of evidence as described in Attachment B.
         Case 1:24-mr-00671-BPB Document 1 Filed 04/10/24 Page 12 of 12




                                       ATTACHMENT B


1.     All electronically stored information, on the Vehicle’s infotainment and telematics systems

and physical items of evidence as described in Attachment A, that involves BLACKIE, BEGAY,

and TAYLOR and relates to violations of 18 U.S.C. § 1153, crimes committed in Indian Country

and §1112, involuntary manslaughter. The items to be seized cover the period of April 3,

2024.including:


           a. All electronic and/or digital data retrieved from the Event Data Recorder (EDR).

           b. Items related to alcohol consumption, illegal substances, drug paraphernalia,
              bottles, receipts of purchase, cans, and other items known to hold drugs or alcoholic
              beverage.

           c. Child restraint devices(s).

           d. Photographs of the interior and exterior of the TARGET VEHICLE.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied

electronic data to the custody and control of the attorneys for the government and their support

staff for their independent review.
